EXHIBIT A
-   Approx. 2010 - at first meeting:
       o LRM purchased two vehicles from GFR at first meeting--Red Chrysler and Russian truck.
           GFR said had drug lab and that he needed money to buy the cocaine base that they
           were sending to him from Colombia. Would produce 200-300kg/month.
       o GFR said would process cocaine base at drug lab that GFR had in Honduras – already
           some Colombians who were at laboratory who would cook the cocaine. The cooking
           specialists. Already had people there and had already begun the cooking process—just
           needed more money to produce higher volume.
       o LRM wasn’t sure why receiving cocaine base as opposed to the cocaine already cooked.
       o Thinks had been operating for several months before had this conversation with GFR.
       o GFR said had run some tests and those tests had turned out well. Had used some base
           from Honduras but there wasn’t enough base in Honduras, so needed to get from
           Colombia.
       o GFR said had a press, power plant, and several microwaves at his laboratory. GFR said
           had built a tent that had covered over with plastic. GFR said access only on foot or on
           mule, located in the mountains. Would gain access through San Pedro Sula—through




                                                                                                       3501-127
                                                                                                     Page 2 of 20
